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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   ZINA B., 1                                    Case No. CV 19-06988 PVC

12                       Plaintiff,

13         v.                                      JUDGMENT
14   ANDREW M. SAUL, Commissioner of
     Social Security,
15
                         Defendant.
16

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18
           IT IS ADJUDGED that the decision of the Commissioner is AFFIRMED and that
19
     the above-captioned action is dismissed with prejudice.
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21
     DATE: November 6, 2020
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23                                             PEDRO V. CASTILLO
24                                             UNITED STATES MAGISTRATE JUDGE

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27
            The Court partially redacts Plaintiff’s name in compliance with Federal Rule of
     Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
28   Administration and Case Management of the Judicial Conference of the United States.
